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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                           )
                                                    )               8:11CR295
                      Plaintiff,                    )
                                                    )
       vs.                                          )                ORDER
                                                    )
ELIAS OROZCO-OCHOA,                                 )
                                                    )
                      Defendant.                    )


       This matter is before the court on the motion for an extension of time by defendant Elias
Orozco-Ochoa (Orozco-Ochoa) (Filing No. 20). Orozco-Ochoa seeks until October 26, 2011, in
which to file pretrial motions in accordance with the progression order. Orozco-Ochoa's counsel
represents that government's counsel has no objection to the motion. Upon consideration, the
motion will be granted.


       IT IS ORDERED:

       Defendant Orozco-Ochoa's motion for an extension of time (Filing No. 20) is granted.

Orozco-Ochoa is given until on or before October 26, 2011, in which to file pretrial motions

pursuant to the progression order. The ends of justice have been served by granting such motion

and outweigh the interests of the public and the defendant in a speedy trial. The additional time

arising as a result of the granting of the motion, i.e., the time between September 22, 2011, and

October 26, 2011, shall be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty
and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 22nd day of September, 2011.
                                                    BY THE COURT:

                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
